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10   ALASKA AIRLINES, INC.
11
12                       UNITED STATES DISTRICT COURT
13                    SOUTHERN DISTRICT OF CALIFORNIA
14   ANDREA DURKEE, individually             Case No. 19-CV-01071 AJB JLB
     and on behalf of herself and all others
15   similarly situated,                     Hon. Anthony J. Battaglia
                                             Courtroom 4A
16                       Plaintiff,
                                             DEFENDANT ALASKA AIRLINES,
17         vs.                               INC.’S NOTICE OF MOTION AND
                                             MOTION TO DISMISS PLAINTIFF’S
18   ALASKA AIRLINES, INC.,                  COMPLAINT
19                    Defendant.
                                        Date: November 7, 2019
20                                      Time: 2:00 p.m.
                                        Courtroom: 4A
21
                                        Complaint filed: June 7, 2019
22                                      Trial Date: None
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 1         TO PLAINTIFF AND HER ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that on November 7, 2019 at 2:00 p.m., or as soon
 3   thereafter as the matter may be heard, in Courtroom 4A of this Court, located at 221
 4   West Broadway, San Diego, CA 92101, defendant Alaska Airlines, Inc. (“Alaska”), will
 5   and hereby does move this Court for an order dismissing the Complaint (Dkt. No. 1) of
 6   plaintiff Andrea Durkee (“Plaintiff”).
 7         Alaska moves on the grounds that, pursuant to Federal Rules of Civil Procedure
 8   12(b)(2), 12(b)(6) and 9(b), Plaintiff lacks standing and fails to state a claim upon which
 9   relief can be granted, and this Court should not exercise jurisdiction over non-California
10   putative class members. This Motion is based on this Notice of Motion and Motion, and
11   the attached Memorandum of Points and Authorities in support of the Motion filed
12   concurrently herewith, the record in this action, and any evidence and argument that
13   may be presented at or before the hearing.
14
15   Dated: August 9, 2019                    WINSTON & STRAWN LLP
16
                                              By:       s/ Gayle I. Jenkins
17                                                      Gayle I. Jenkins
                                                        Attorneys for Defendant
18                                                      ALASKA AIRLINES, INC.
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 1   I.    INTRODUCTION
 2         This case stems from Plaintiff’s admittedly voluntary decision to purchase travel
 3   insurance from a third party, Allianz Global Assistance (“AGA”), in connection with
 4   several trips she was concurrently booking on Alaska’s website. Plaintiff’s claims are
 5   premised on her feigned surprise at the unremarkable proposition that Alaska is being
 6   compensated by AGA for allowing AGA occupy a valuable spot in Alaska’s booking
 7   path to present travel insurance offers to Alaska’s customers. The Complaint purports
 8   to allege two claims: breach of fiduciary duty (Count I) and violation of California’s
 9   Unfair Competition Law, Bus. & Prof. §§ 17200, et seq. (“UCL”) (Count II). The claims
10   are fatally flawed for the following independently sufficient reasons:
11         First, both claims are entirely preempted by the expansive express preemption
12   provision in the Airline Deregulation Act of 1978 (“ADA”), which preempts state law
13   claims, like those alleged here, that “relate to” a “service of an air carrier.”
14         Second, Plaintiff cannot allege the fundamental elements for her breach of
15   fiduciary duty claim because she alleges no cognizable basis for a fiduciary relationship
16   between herself and Alaska and no damages.
17         Third, Plaintiff lacks standing to assert a UCL claim because she has not and
18   cannot allege an actual injury in fact, actual reliance on the alleged wrongful conduct
19   by Alaska, or that any alleged representation or omission by Alaska caused her any
20   harm. Moreover, Plaintiff cannot allege the fundamental elements of a UCL claim
21   because she cannot identify any Alaska website statement that is false, and cannot
22   identify any duty to disclose that gives rise to a deceptive omission. Plaintiff also lacks
23   standing to seek injunctive relief under the UCL because she has not and cannot allege
24   a “certainly impending” “threat of future harm” because she can purchase travel
25   insurance elsewhere. Plaintiff’s UCL claim also fails because the Complaint fails to
26   plead fraud with the particularity required by Fed. R. Civ. P. 9(b).
27         Fourth, Plaintiff’s nationwide class allegations in connection with her breach of
28   fiduciary duty claim must be dismissed because application of varied state laws render
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 1   nationwide class treatment of the breach of fiduciary duty claim unmanageable and
 2   inappropriate. Moreover, Plaintiff lacks standing to assert claims under the laws of the
 3   states in which she does not reside. In addition, this Court should not exercise specific
 4   personal jurisdiction over nonresident Alaska where the proposed nationwide class
 5   members’ claims bear no connection to California.
 6   II.   STATEMENT OF ALLEGED FACTS
 7         Customers may purchase travel on an Alaska flight on www.alaskaair.com. See
 8   Compl. ¶¶ 4, 28. During the online booking process, customers are presented with an
 9   option to purchase a travel insurance policy before they can proceed with the purchase
10   of their airline tickets. Id. ¶ 4. The travel insurance policies marketed on Alaska’s
11   website are offered and sold by AGA, a “third-party provider.” Id. ¶ 3. If a customer
12   elects to purchase travel insurance in response to AGA’s offer in Alaska’s booking path,
13   the cost of the policy is itemized separately from the airfare purchase and is charged
14   separately by AGA. Id. ¶¶ 5, 32, 37, 38; Exs. A and C.
15         On June 7, 2019, Plaintiff filed this Complaint alleging that Alaska’s marketing
16   of travel insurance policies on its website is deceptive because Alaska allegedly fails to
17   disclose that “the purchase price of the travel insurance product includes a payment to
18   Alaska.” Id. ¶ 7. Plaintiff also alleges that Alaska assumed—and breached—fiduciary
19   duties to its customers regarding the purchase of travel insurance because Alaska’s
20   Contract for Carriage provides:
21         “If Alaska makes arrangements for a Passenger with any third party to
           provide any services other than Carriage by air, or issues a Ticket or
22         voucher relating to transportation or services (other than Carriage by air)
           provided by a third party such as hotel reservations or car rental, Alaska
23         acts only as Passenger’s agent in doing so.”
24   Id. ¶ 18 (emphasis removed).
25         Plaintiff alleges that she purchased a travel insurance policy from AGA while
26   also booking travel on Alaska’s website on July 13, 2017 and November 10, 2017. Id.
27   ¶¶ 28, 33. She alleges that she would like to “purchase travel insurance products through
28   Alaska if priced without the concealed kickback to Alaska….” Id. ¶ 72. What Plaintiff
                                                 2
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 1   does not allege, however, is that she saw—let alone relied on—the Contract of Carriage
 2   or the specific statements and materials referenced in the Complaint. Nor does she
 3   allege that she could have purchased the same or similar travel insurance policies for
 4   less or that she did not get what she paid for.
 5          Plaintiff seeks to represent a nationwide class for the breach of fiduciary duty
 6   claim and a California class for violations of the UCL, and seeks restitution,
 7   disgorgement and injunctive relief.
 8   III.   LEGAL STANDARD
 9          Under Fed. R. Civ. P. 12(b)(6), a court may dismiss a complaint for “failure to
10   state a claim upon which relief can be granted.” To survive a motion to dismiss,
11   “[f]actual allegations must be enough to raise a right to relief above the speculative
12   level.” Bell Atl. v. Twombly, 550 U.S. 544, 555 (2007). Stripped of conclusory or
13   implausible allegations, the remaining “non-conclusory ‘factual content,’ and
14   reasonable inferences from that content, must be plausibly suggestive of a claim
15   entitling the plaintiff to relief.” Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir.
16   2009). Additionally, Plaintiff must allege “the who, what, when, where, and how” of
17   the alleged fraudulent conduct, with enough “specific[ity]…to give defendants notice
18   of the particular misconduct” alleged. Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097,
19   1106 (9th Cir. 2003). Plaintiff’s claims do not satisfy these standards.
20          Although leave to amend may be granted, such leave is not required where “any
21   amendment would be futile.” Leadsinger, Inc. v. BMG Music Publ’g, 429 F. Supp. 2d
22   1190, 1197 (C.D. Cal. 2005); Miller v. Rykoff-Sexton, Inc., 845 F.2d 209, 214 (9th Cir.
23   1988), overruled on other grounds by Ashcroft v. Iqbal, 556 U.S. 662 (2009) (futility
24   means that “no set of facts can be proved under the amendment to the pleadings that
25   would constitute a valid and sufficient claim or defense”).
26   IV.    ARGUMENT
27          A.    The ADA Preempts Plaintiff’s Claims
28
                                                  3
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 1                 1.     The ADA Preemption Clause is Applied Expansively
 2          Congress enacted the ADA in 1978 to spur competitive market forces by largely
 3   deregulating the airline industry. Northwest, Inc. v. Ginsberg, 572 U.S. 273, 280 (2014).
 4   Concerned that states might promulgate their own laws to govern airline regulations,
 5   Congress included a broad preemption clause as part of the ADA. Id. at 1429; Morales
 6   v. Trans World Airlines, Inc., 504 U.S. 374, 378 (1992) (same). The ADA preemption
 7   clause provides that “a State, political subdivision of a state, or political authority of at
 8   least 2 States may not enact or enforce a law, regulation, or other provision having the
 9   force and effect of law related to price, route, or service of an air carrier . . . .” 49 U.S.C.
10   § 41713(b)(1). The U.S. Supreme Court has determined that the language of the ADA
11   preemption clause expresses “a broad pre-emptive purpose” and that “State
12   enforcement actions having a connection with, or reference to, airline ‘rates, routes, or
13   services’ are pre-empted under [the ADA].” Morales, 504 U.S. at 383, 384. The ADA’s
14   preemptive effect is so broad as to encompass even those state laws that only indirectly
15   impact air carrier prices, routes or services. See Rowe v. N.H. Motor Transp. Ass’n, 552
16   U.S. 364, 370 (2008); Northwest, 134 S. Ct. at 1429-31 (the ADA preempts state laws,
17   regulatory claims, and common law claims).
18                 2.     Plaintiff’s State Law Claims Are Preempted Because They
                          Amount to Impermissible Regulation of an Airline Service
19
20          Plaintiff’s UCL and fiduciary duty claims arise from Alaska’s website featuring
21   an offer of optional travel insurance during the ticket purchasing process, and thus run
22   afoul of the ADA. Undisputedly, Plaintiff has alleged this offer relates to Alaska’s
23   services by asserting that Alaska fails to disclose that “the purchase price of the travel
24   insurance product includes a payment to Alaska,” while it acts as an agent for the travel
25   insurance policies sold through its website. Compl. ¶¶ 7, 18.
26          Indeed, the Department of Transportation has made it clear that the availability
27   of travel insurance is an ancillary service of airlines. 76 Fed. Reg. 23110-01, at 23144
28   (Apr. 25, 2011) (characterizing travel insurance as an “optional service” made available
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 1   by an airline). The ADA’s reach extends to such ancillary services, with the Court
 2   explaining that “the key phrase, obviously, is ‘relating to’” which is defined “broad[ly]”
 3   to mean “to stand in some relation; to have bearing or concern; to pertain; refer; to bring
 4   into association with or connection with.” Morales, 504 U.S. at 383. The option to
 5   purchase travel protection plans—which include reimbursement for travel delay, missed
 6   connections, and lost baggage—obviously relates to, bears on and concerns Alaska’s
 7   flights and travel services. See, e.g., Cox v. Spirit Airlines, 2018 WL 6168086, at *5
 8   (E.D.N.Y. Nov. 20. 2018) (finding plaintiff’s unjust enrichment and fraud claims
 9   regarding carry-on baggage fees preempted by the ADA, noting that “[a]s dictated by
10   the Supreme Court, state laws and provisions cannot be applied to require airlines to
11   advertise, market, or make particular disclosures regarding fees...”).
12         Here, Plaintiff’s attempt to use state law claims to regulate Alaska’s alleged
13   conduct when providing a service is preempted under the ADA. In her allegations,
14   Plaintiff seeks to regulate Alaska’s disclosures regarding ancillary services on Alaska’s
15   website, including by seeking an injunction under the UCL “precluding Alaska from
16   receiving undisclosed remuneration…from the sale of travel insurance products.”
17   Compl., Prayer for Relief, D. If California were to require different disclosures on
18   Alaska’s website than those required by other states, this would lead to the “patchwork
19   of state service-determining laws, rules, and regulations” that the Supreme Court
20   warned against in Rowe, creating a “state regulatory patchwork [that] is inconsistent
21   with Congress’ major legislative effort to leave such decisions, where federally
22   unregulated, to the competitive marketplace.” Rowe, 552 U.S. at 373. Thus, Plaintiff’s
23   claims upend Congress’ goals precisely in the way that the Supreme Court has
24   forbidden.
25         Several cases presenting analogous circumstances compel this conclusion,
26   including those based on undisclosed financial arrangements or conditions. For
27   example, in David v. United Cont’l Holdings, Inc., 2015 WL 7573204, at *1 (D.N.J.
28   Nov. 24, 2015), the court held that plaintiff’s state-law claims challenging the airline’s
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 1   failure to disclose to consumers that DirecTV and WiFi would work only over the
 2   continental U.S. were preempted under the ADA. See also McGarry v. Delta Air Lines,
 3   Inc., 2019 WL 1885613, at *8 (C.D. Cal. Apr. 16, 2019) (finding “little difficulty in
 4   concluding that Plaintiff’s claim for violation of various data breach acts is preempted
 5   by the ADA because those acts are similarly prescriptive and serve as a means to police
 6   services provided by Defendants.”); Pica v. Delta Air Lines, Inc., 2019 WL 1598761,
 7   at *9 (C.D. Cal. Feb. 14, 2019) (ADA preemption covers services by third-party
 8   provider of voice and chat services related to sales and support for Delta); Stout v. Med-
 9   Trans Corp., 313 F. Supp. 3d 1289, 1293-98 (N.D. Fla. 2018) (ADA preempted state-
10   law claims that challenged the billing practices for air ambulance services); Miller v.
11   Delta Air Lines, Inc., 2012 WL 1155138, at *1-3 (S.D. Fla. Apr. 5, 2012) (ADA
12   preempted state-law claims including UCL-type claim in which customer challenged
13   airline’s failure to inform customers of their right to reimbursement for lost, damaged,
14   or delayed baggage).1
15         Moreover, Plaintiff’s allegations of purported deception stem from Plaintiff’s
16   interaction with Alaska’s booking process on its website (Compl. ¶¶ 1, 4, 28, 33), and
17   thus her claims further “have a connection . . . with [the airline’s] ticketing service,
18   including the reservation component.” In re Am. Airlines Privacy Litig., 370 F. Supp.
19   2d 552, 564 (N.D. Tex. 2005). Consequently, Plaintiff’s attempt “to regulate the
20   representations and commitments” on Alaska’s website “ma[de] in connection with
21   reservations and ticket sales”—specifically how and what is communicated to potential
22   customers about services on the website (see e.g., Compl. ¶ 72)—“fits squarely within
23   the range of state law actions that the Supreme Court concluded in Wolens and Morales,
24
     1
        Plaintiff’s reliance on Nat'l Fed'n of the Blind v. United Airlines Inc., 813 F.3d 718,
25   726 (9th Cir. 2016) is misplaced because the court in that case held that airline ticket
     kiosks were an amenity for convenience, not a “service.” Here, Plaintiff expressly
26   alleges that travel insurance is a “service” offered by Alaska (see e.g., Compl. ¶ 5) which
     renders it an “essential detail of the carriage itself.” Rowe, 552 U.S. at 373. Plaintiff’s
27   reliance on Hickcox-Huffman v. US Airways, Inc., 855 F.3d 1057, 1059 (9th Cir. 2017)
     is also misplaced because Hickcox-Huffman involved a breach of contract claim which
28   is distinguishable from Plaintiff’s breach of fiduciary duty claim.
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                                                      NOTICE OF MOTION AND MOTION TO DISMISS
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 1   are expressly preempted by the ADA.” In re Jetblue Airways Corp. Privacy Litig., 379
 2   F. Supp. 2d 299, 315 (E.D.N.Y. 2005) (claim alleging defendant “engaged in unfair or
 3   deceptive acts” under New York law preempted because it was “a direct effort to
 4   regulate the manner in which JetBlue communicates with its customers in connection
 5   with reservations and ticket sales, both of which are services provided by the airline to
 6   its customers”); People ex rel. Harris v. Delta Air Lines, Inc., 247 Cal. App. 4th 884,
 7   901 (2016) (ADA preemption precluded suit seeking to force airline to comply with
 8   privacy policy requirements that would interfere with the airline’s selection and design
 9   of its mobile application).
10         For these reasons, Plaintiff’s claims are precisely the type of claims that the ADA
11   preempts because, on their face, the claims have a “connection with, or reference to,
12   airline prices, routes, or services.” Ginsberg, 134 S. Ct. at 1430 (internal quotation
13   marks omitted). The claims—based on alleged deceptive marketing on Alaska’s
14   website—mirror the claims that the Supreme Court held the ADA preempts in Wolens
15   because state-imposed prohibitions on “deception, fraud, false pretense, false promise,
16   misrepresentation or the concealment, suppression or omission of any material fact”
17   constitute “intrusive regulation of airline business practices.” Wolens, 513 U.S. at 227-
18   28 (ADA preempts fraud claim that purported “to guide and police the marketing
19   practices of airlines.”). 2 Because Plaintiff’s claims based on the travel insurance offer
20   on Alaska’s website undisputedly relate to a service that is ancillary and incidental to
21   the travel being provided by Alaska, they are preempted.
22
23
24   2
        “Indeed, courts routinely hold that state consumer protection and deceptive
     practices[] laws and regulations are expressly preempted by [the ADA].” ABC Charters,
25   Inc. v. Bronson, 591 F. Supp. 2d 1272, 1301 (S.D. Fla. 2008); see, e.g., Banga v.
     Gundumolgula, 2013 WL 3804046, at *3 (E.D. Cal. July 19, 2013) (“[P]laintiff asserts
26   claims based on the UCL, which has been preempted by the ADA.”), report and
     recommendation adopted, 2013 WL 11332786 (E.D. Cal. Sept. 12, 2013);
27   Flaster/Greenberg P.C. v. Brendan Airways, LLC, 2009 WL 1652156, at *6–7 (D.N.J.
     June 10, 2009) (explaining that the ADA leaves no “room for a consumer fraud claim
28   against an airline” and dismissing such claim with prejudice).
                                                 7
                                                      NOTICE OF MOTION AND MOTION TO DISMISS
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 1         B.     Plaintiff’s Breach of Fiduciary Duty Must Be Dismissed
 2                1.     Alaska’s Contract of Carriage Did Not Create an Agency
                         Relationship for Purposes of Procuring Insurance
 3
 4         Plaintiff’s breach of fiduciary duty claim is premised on Plaintiff’s faulty theory
 5   that, pursuant to Alaska’s Contract for Carriage (“COC”), Alaska “voluntarily assum[ed
 6   a] limited agency on behalf of its passengers” in “making arrangements for the purchase
 7   of travel insurance products.” Compl. ¶ 59. On its face, the COC, however, did not
 8   create such a relationship. The COC provides that:
 9         If Alaska makes arrangements for a Passenger with any third party to
           provide any services other than Carriage by air, or issues a Ticket or
10         voucher relating to transportation or services (other than Carriage by air)
           provided by a third party such as hotel reservations or car rental, Alaska
11         acts only as Passenger’s agent in doing so. The terms and conditions of the
           third party service provider will apply.
12
13   COC, Rule 3(O) (quoted at Compl. ¶ 18) (emphasis added). Importantly, the COC does
14   not mention or encompass insurance. Nonetheless, the Complaint asserts that the scope
15   of the agency relationship was “limited to the context of procuring third party insurance
16   products” on behalf of Alaska’s passengers. Compl. ¶¶ 20-22. But, as the Complaint
17   makes clear, Alaska never procured anything on behalf of Plaintiff, let alone travel
18   insurance or even a voucher for travel insurance.
19         “Procure” means “[t]o obtain (something), esp. by special effort or means.”
20   Maslenjak v. U.S., 137 S. Ct. 1918, 1924 (2017) (citation omitted). Yet, it was Plaintiff
21   who “affirmatively elected” to buy her insurance product, not Alaska. Compl. ¶ 30; see
22   also id. ¶ 36 (“Plaintiff chose to purchase [the travel insurance product]”). And, Plaintiff
23   was the one who had to contact AGA “to update” her travel insurance coverage, not
24   Alaska. Id., Ex. B. Alaska only provided AGA space on Alaska’s website through which
25   Plaintiff could contract with AGA and arrange her travel insurance. Id. ¶ 4.
26   Consequently, since Alaska never “made arrangements for” or “procured” Plaintiff’s
27   travel insurance, as it would arrange a hotel room or car rental for a stranded passenger,
28   it did not “voluntarily assum[e a] limited agency.” Plaintiff’s distorted reading of the
                                                  8
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 1   COC does not alter this fact. See Anderson v. Badger, 84 Cal. App. 2d 736, 741 (1948)
 2   (“If the obligations assumed are [not that of an agent], that relationship is not changed
 3   to one of agency by his being designated in the contract as an agent.”). 3
 4                2.     Plaintiff Has Not Properly Pled and Cannot Show that an
                         Agency Relationship Existed
 5
           Under California law, the essential elements of an agency relationship are:
 6
           (1) An agent or apparent agent holds a power to alter the legal relations
 7         between the principal and third persons and between the principal and
           himself; (2) an agent is a fiduciary with respect to matters within the scope
 8         of the agency; and (3) a principal has the right to control the conduct of the
           agent with respect to matters entrusted to him.
 9
     Alvarez v. Felker Mfg. Co., 230 Cal. App. 2d 987, 999 (1964).
10
           Plaintiff does not allege that Alaska had the power to alter the legal relations
11
     between Plaintiff and third persons or that Plaintiff had the right to control the conduct
12
     of Alaska, nor could she. Plaintiff simply assumes—based on her unsupported
13
     interpretation of the COC—that an agency relationship existed. See section IV.B.1,
14
     supra. Plaintiff is incorrect as a matter of law.
15
           In Qwest Commc’n v. Herakles, LLC, 2008 WL 3864620, at *5 (E.D. Cal. Aug.
16
     19, 2008), for example, the plaintiff asserted that pursuant to the parties’ contractual
17
     relationship, the defendant “was authorized to stand in the place of [the plaintiff] while
18
     interacting with [the plaintiff’s] current or potential customers.” The plaintiff, however,
19
     failed to allege “that [the defendant] had the power to alter legal relations between third
20
     parties and [the plaintiff].” Id. The plaintiff sought “to avoid this requirement by noting
21
     that the law recognizes some agents, such as brokers and attorneys, who often do not
22
23   3
        Indeed, Alaska’s “Website terms of use,” which appear on Alaska’s website, were
     assented to by Plaintiff with her affirmative acknowledgement before she was able to
24   complete her purchase of travel on the website, and supplement the COC, makes clear
     that Alaska was not acting as an agent in connection with Plaintiff’s dealings with third-
25   party vendor AGA. The terms of use provide that the “[i]nclusion of [] links and
     displays [to websites not maintained by Alaska] in [Alaska’s website] does not imply
26   our endorsement, approval or agreement with the linked or displayed websites or their
     content. We are not responsible for any losses, damages or other liabilities incurred as
27   a result of your use of such websites.” Website terms of use, Links and other websites
     (emphasis added). A copy of Alaska’s Website terms of use is attached as Exhibit A to
28   the concurrently filed Declaration of Gayle I. Jenkins.
                                                  9
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 1   have the power to enter into contractual relations on behalf of their respective
 2   principals.” Id. In rejecting plaintiff’s claim for “breach of any fiduciary relationship,”
 3   the court found that “such agency relationships [of brokers and attorneys] are
 4   recognized at law” and are not based solely on the parties’ contractual relationship:
 5         If [the plaintiff’s] allegations under this requirement were sufficient to
 6         create an agency, and thus a fiduciary relationship between the parties, then
           agency relationships would be created in most, if not all, contractual
 7         relations where one party manages the affairs of the other, as long as the
           right to control factor is also met.
 8
     Id. Much like the plaintiff in Qwest, Plaintiff’s reliance on the COC to create an agency
 9
     relationship is misplaced. Plaintiff has not alleged that Alaska had the authority to enter
10
     into or modify the legal relations between Plaintiff and AGA. Plaintiff has not alleged
11
     that Alaska could acquire travel insurance on Plaintiff’s behalf or that Alaska could
12
     cancel such insurance. Nor has Plaintiff alleged that Alaska could “stand in the place of
13
     [Plaintiff]” (Qwest, 2008 WL 3864620, at *5) when interacting with AGA. Rather,
14
     Plaintiff’s only allegation is that “Plaintiff utilized Alaska’s website” to purchase travel
15
     insurance from AGA. Compl. ¶¶ 28-36. This is clearly insufficient. Plaintiff’s inability
16
     to allege that Alaska bought, or was even authorized to buy, travel insurance on her
17
     behalf dooms Plaintiff’s claim.
18
           Plaintiff’s failure to allege that Plaintiff had control over Alaska’s actions is also
19
     fatal to Plaintiff’s claim. One of the “significant test[s] of an agency relationship is the
20
     principal’s right to control the activities of the agent. [While it] is not essential that the
21
     right of control be exercised or that there be actual supervision of the work of the agent;
22
     the existence of the right establishes the relationship.” Violette v. Shoup, 16 Cal. App.
23
     4th 611, 620, 622 (1993) (“absence of an agency relationship” due to lack of any
24
     “suggestion that either [plaintiff] had any right to control [the defendant]” was “fatal to
25
     [the plaintiffs’] claim that the [defendant] owed them a legal duty”) (internal citations
26
     and quotation marks omitted). “In the absence of th[is] essential characteristic of the
27
     right of control, there is no true agency….” Edwards v. Freeman, 34 Cal. 2d 589, 592
28
                                                   10
                                                        NOTICE OF MOTION AND MOTION TO DISMISS
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 1   (1949) (“[T]o hold that one who performs a mere favor for another, without being
 2   subject to any legal duty of service and without assenting to any right of control, can be
 3   an agent … is not the law.”) (emphasis added); see also Anderson, 84 Cal. App. 2d at
 4   741 (contractual statement that a person is an “agent” will be disregarded if the
 5   purported agent is “engaged to produce a certain result by means and in a manner of his
 6   own choosing,” i.e., under his sole control).
 7         Plaintiff does not allege that she had the right to control Alaska’s activities. To
 8   the contrary, Plaintiff alleges that Alaska “compelled” Plaintiff to elect to purchase or
 9   decline travel insurance from AGA. See Compl. ¶¶ 4, 30, 35. Such an incongruent
10   position runs counter to agency principles. Simply put, Plaintiff has not properly alleged
11   the existence of an agency relationship under California law.
12         Absent an agency relationship, Plaintiff’s claim for breach of fiduciary duty
13   necessarily fails. See World Surveillance Grp. Inc. v. La Jolla Cove Inv'rs, Inc., 66 F.
14   Supp. 3d 1233, 1235-36 (N.D. Cal. 2014) (dismissing breach of fiduciary duty claim
15   with prejudice because allegation that defendant agreed expressly to act in plaintiff’s
16   best interests (i.e., as an agent) was insufficient to establish a fiduciary relationship in
17   the “typical arms-length business dealings [between the parties]”) (internal citations and
18   quotations omitted); see also Violette, 16 Cal. App. 4th at 623; Alvarez, 230 Cal. App.
19   2d at 999-1000; Trenz v. Sirius Xm Radio, Inc., 2015 WL 11658715, at *3 (S.D. Cal.
20   July 13, 2015) (dismissing plaintiff’s TCPA claim since “it is not plausible on its face
21   that an agency relationship exists based on the current pleading.”). 4 Plaintiff’s breach
22   of fiduciary duty claim must therefore be dismissed with prejudice.
23         C.     Plaintiff’s UCL Claim Must Be Dismissed
24                1.     Plaintiff Does Not Have Standing to Bring a UCL Claim
25
     4
        To prevail on a breach of fiduciary duty claim, a plaintiff must also allege, among
26   other things, “damage proximately caused by the breach.” MH Pillars Ltd. v. Realini,
     2017 WL 916414, at *4 (N.D. Cal. Mar. 8, 2017). As explained infra at IV.C.1.a,
27   Plaintiff failed to allege plausibly that she was damaged because there are no allegations
     that she could have acquired the travel insurance for less than she paid or that she did
28   not get the policy she paid for. Her claim fails for this additional reason.
                                                  11
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 1         “The UCL prohibits, and provides civil remedies for, unfair competition, which
 2   it defines as ‘any unlawful, unfair or fraudulent business act or practice.’” Kwikset Corp.
 3   v. Superior Ct., 51 Cal. 4th 310, 320 (2011) (quoting Cal. Bus. & Prof. § 17200).
 4   Pursuant to UCL § 17204, “private standing is limited to ‘any person who has suffered
 5   an injury in fact and has lost money or property’ as a result of [a violation of the
 6   statute].” Id. at 884. Thus, in order to have standing to bring a UCL claim, “a party must
 7   now (1) establish a loss or deprivation of money or property sufficient to qualify as an
 8   injury in fact, i.e., economic injury, and (2) show that that economic injury was the
 9   result of, i.e., caused by, the unfair [or fraudulent] business practice that is the gravamen
10   of the claim.” Id. at 885.
11                       a.       Plaintiff Has Not and Cannot Allege an Injury in Fact
12         Plaintiff makes the conclusory assertions, unsupported by any facts, that: “[b]ut
13   for Alaska’s acts, Plaintiff would have paid less for the AGA travel insurance
14   coverage,” that Alaska’s acts “caused the products to be sold at a higher price,” and
15   caused Plaintiff “to lose money or property,” and that, as a result of Alaska’s acts,
16   Plaintiff “unwittingly paid more for the travel insurance coverage than [she] otherwise
17   would.” Compl. ¶¶ 68-70, 74. Crucially absent are any allegations that Plaintiff could
18   have acquired the travel insurance for less than she paid or that Plaintiff did not get what
19   she paid for—an enforceable insurance policy—at the price she agreed to pay.
20         Peterson v. Cellco Partnership, 164 Cal. App. 4th 1583 (2008), involved the
21   precise circumstances at issue here. In Peterson, plaintiffs attempted to assert a UCL
22   claim against a phone company which sold cell phones and insurance on the phones and
23   received from the insurance provider a percentage of the cost of the premium on each
24   policy sold. Id. at 1586-87. In affirming dismissal of the UCL claim on standing
25   grounds, the court in Peterson explained that the plaintiffs:
26         do not allege they could have bought the same insurance for a lower price
           either directly from the insured or from a licensed agent . . . [and] [a]bsent
27         such an allegation, plaintiffs have not shown that they suffered actual
           economic injury. Rather, they received the benefit of their bargain, having
28         obtained the bargained for insurance at the bargained for price.
                                                  12
                                                        NOTICE OF MOTION AND MOTION TO DISMISS
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 1   Id. at 1591. The same is true here. While the Complaint makes wholly conclusory
 2   allegations that “[b]ut for Alaska’s acts, Plaintiff would have paid less for the AGA
 3   travel insurance coverage,” Compl. ¶ 67, it alleges no facts to show that AGA would
 4   have sold the policy for less or that Plaintiff could have obtained a comparable policy
 5   from another company for less.5
 6         Indeed, there is a broad body of case law mandating dismissal of UCL claims in
 7   the absence of an actual injury in fact. See, e.g., Kauai Scuba Ctr. v. PADI Americas
 8   Inc., 524 F. App’x 344, 346-47 (9th Cir. 2013) (complaint which alleged that plaintiff
 9   would have purchased product elsewhere had it known of concealed information and
10   would not have paid the prices it did, failed to allege an injury in fact because “none of
11   [plaintiff’s] allegations plausibly show that [] insurance with comparable coverage . . .
12   was available at a lower premium.”); Warner v. Tinder Inc., 105 F. Supp. 3d 1083, 1094
13   (C.D. Cal. 2015) (holding “that being induced to purchase a product … is not loss of
14   money or property [under the UCL] as long as one still receives the benefit of the
15   bargain.’”) (citation omitted); Bower v. AT&T Mobility, LLC, 196 Cal. App. 4th 1545,
16   1554-55 (2011) (allegations insufficient because plaintiff did not allege she could have
17   purchased the product at a lower price from another source nor that “the product was
18   worth less than represented or was different from what the consumer wanted or expected
19   to buy.”); Hall v. Time Inc., 158 Cal. App. 4th 847, 855 (2008).6
20                       b.     Plaintiff Has Not and Cannot Allege Actual Reliance or
                                Causation
21
22
23   5
        Cf. Friedman v. AARP Servs., Inc., 283 F. Supp. 3d 873 (C.D. Cal. 2018), in which
     the court held that plaintiff had alleged an injury in fact because he identified in the
24   Complaint specific comparable insurance policies which could have been procured at
     a lower price. Id. at 880. As noted, Plaintiff here utterly fails to identify any comparable
25   insurance which could have been purchased at a lower price.
     6
        Plaintiff also lacks Article III standing. As here, the court in Papasan v. Dometic
26   Corp., 2017 WL 4865602 (N.D. Cal. Oct. 27, 2017) was faced with a plaintiff who
     “allege[d] in a conclusory manner that she ‘unknowingly overpaid’ for the product.” Id.
27   at *6. The court held such an allegation insufficient to establish Article III standing
     because, absent sufficient facts to support the conclusion, “the economic injury alleged
28   here is vague and speculative . . . .” Id.
                                                  13
                                                       NOTICE OF MOTION AND MOTION TO DISMISS
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 1         As explained above, a plaintiff seeking to establish standing under the UCL must
 2   also demonstrate a loss of money or property “as a result of” the alleged wrongful act.
 3   In re Tobacco II Cases, 46 Cal. 4th 298, 326 (2009). “The California Supreme Court
 4   has held that the phrase ‘as a result of’ in section 17204 [of the UCL] ‘imposes an actual
 5   reliance requirement on plaintiffs prosecuting a private enforcement action….’” Figy v.
 6   Amy’s Kitchen, Inc., 2013 WL 6169503, at *3 (N.D. Cal. 2013) (quoting Tobacco II,
 7   46 Cal. 4th at 326). “To plead actual reliance, the ‘plaintiff must allege that the
 8   defendant’s misrepresentations were an immediate cause of the injury-causing
 9   conduct.’” Id. at *4 (quoting Tobacco II, 46 Cal. 4th at 328).
10         Plaintiff does not allege that she saw or read the representations upon which she
11   purports to premise her UCL claim. Instead, she vaguely alleges that she was “exposed
12   to the misleading information.” See Compl. ¶ 69. That is not enough. A plaintiff cannot
13   plead actual reliance if he or she did not see and read the allegedly misleading
14   statements upon which the UCL claim purports to be premised. As the court explained
15   in Letizia v. Facebook, Inc., 267 F. Supp. 3d 1235, 1243 (N.D. Cal. 2017):
16          [I]n order for a UCL claim to survive a motion to dismiss, a plaintiff
            must satisfy the actual-reliance requirement, which means the plaintiff
17          must allege that he or she saw the specific misrepresentation at issue
            and actually relied on it. A mere factual nexus causation between a
18          defendant’s conduct and the plaintiff’s injury is not enough to support
            a UCL claim.
19         Similarly, in Figy, the court stated that because the plaintiff did not allege he saw
20   the misleading label before he made his purchase, “plaintiff has failed to allege
21   sufficient facts establishing that he relied” and further made clear that “although there
22   may be an inference of reliance upon a showing of materiality, to adequately allege
23   reliance, a plaintiff must still at a minimum allege he saw the representation at issue.”
24   Figy, 2013 WL 6169503, at *4; 7 see also Philips v. Ford Motor Co., 2015 WL 4111448,
25   at *14 (N.D. Cal. July 17, 2015) (“a plaintiff has no standing to assert [UCL] claims
26
27   7
       While there can be an inference of reliance in certain circumstances upon a showing
     of materiality, as demonstrated infra at IV.C.2, the alleged representations and
28   omissions by Alaska were not material as a matter of law.
                                                 14
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 1   based on statements he did not view.”); Durell v. Sharp Healthcare, 183 Cal. App. 4th
 2   1350, 1363 (2010) (UCL claim cannot be based on representations plaintiff did not read
 3   and therefore could not have relied upon); In re iPhone Application Litig., 6 F. Supp.
 4   3d 1004, 1022-25 (N.D. Cal. 2013) (plaintiff’s receipt of materials containing
 5   misrepresentations or access to such materials is insufficient to establish standing given
 6   actual reliance requirement).
 7          Nor do the allegations of the Complaint establish that the alleged statements or
 8   omissions by Alaska were the “immediate cause” of Plaintiff’s alleged loss. Plaintiff
 9   agreed to buy the specific insurance at a specific price. Plaintiff thus relied on the quality
10   and cost of the insurance when making her purchase, not on what other costs might
11   allegedly be included within that price. Williamson v. Reinault-Thomas Corp., 2012 WL
12   1438812 (N.D. Cal. Apr. 25, 2012) is squarely on point. There, as here, plaintiff
13   attempted to premise a UCL claim on allegations that the defendant charged a hidden
14   fee which was part of an agreed-upon price for the product and services. Id. at *8. In
15   holding that “the factual allegations [] do not support a plausible inference that the
16   alleged omission was an ‘immediate cause’ [of Plaintiff’s purchase],” the court
17   explained that the parties agreed to a specific amount that plaintiff was willing to pay
18   and “[t]hat is the amount Plaintiff actually paid” and thus that “[t]he terms that Plaintiff
19   relied on were price and quality, not on a [] fee that was subsumed into the overall
20   price.” Id.
21          Because Plaintiff has not and cannot allege that she suffered an actual injury in
22   fact, that she actually relied on the alleged representations or omissions by Alaska, or
23   that those alleged representations or omissions were the immediate cause of a loss, she
24   lacks standing to bring her UCL claim and the claim must be dismissed with prejudice.
25                 2.    Plaintiff Fails to State a Claim Under the UCL
26          California courts routinely dismiss claims under the UCL for failure to state a
27   claim. See Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101, 1117 (N.D. Cal. 2016);
28   Elias v. Hewlett-Packard Co., 903 F. Supp. 2d 843, 858 (N.D. Cal. 2012). Here, Plaintiff
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 1   has failed to allege a claim under either the “fraudulent” or “unfair” prong of the UCL,
 2   and therefore, her claim must be dismissed. 8
 3                       a.     Alaska’s Alleged Representations and Omissions Were
                                Not Fraudulent or Deceptive as a Matter of Law
 4
           To plausibly allege a UCL claim based on a purported misrepresentation or
 5
     omission, a plaintiff “must show that ‘members of the public [were] likely to be
 6
     deceived.’” Warner, 105 F. Supp. 3d at 1092 (citation omitted). In Lavie v. Proctor &
 7
     Gamble Co., 105 Cal. App. 4th 496 (2003), the court explained that:
 8
           “Likely to deceive” implies more than a mere possibility that the [subject
 9         materials] might conceivably be misunderstood by some few consumers
           viewing it in an unreasonable manner. Rather, the phrase indicates that the
10         [materials are] such that it is probable that a significant portion of the
           general consuming public or of targeted consumers, acting reasonably in
11         the circumstances, could be misled.
12   Id. at 508. See also Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016) (same).
13         First, there is no misrepresentation by Alaska. The affirmative representations
14   Plaintiff attempts to attribute to Alaska, see Compl. ¶¶ 4, 23-25, and 77, are accurate
15   and truthful because AGA is licensed to sell insurance and is the “licensed producer”
16   and “administrator” of the insurance plans, and as such, offers, sells and underwrites
17   the insurance product. The Complaint thus relies on undisputedly accurate statements
18   in attempting (but failing) to show that Alaska created a false impression with regard to
19   the travel insurance. See id. Indeed, there are no facts pled or which could be pled to
20   demonstrate otherwise. Accurate, truthful statements are not actionable. See, e.g., Stuart
21   v. Cadbury Adams USA, LLC, 458 F. App’x 689, 691 (9th Cir. 2011) (affirming
22   dismissal with prejudice of UCL claims based on accurate statements and omissions not
23   likely to deceive reasonable consumers).
24         Second, “courts can and do sustain demurrers on UCL claims when the facts
25   alleged fail as a matter of law to show such a likelihood [of deception].” Rubenstein v.
26
     8
        The grounds for dismissal set forth in IV.C.2.a, b, d, and e apply to both the fraudulent
27   prong and the unfair prong of the UCL claim. The ground for dismissal set forth in C.2.c
     provides an additional reason why the unfair prong of the UCL claim fails to state a
28   claim.
                                                  16
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 1   The Gap, Inc., 14 Cal. App. 5th 870, 877 (2017). Courts have found no deception as a
 2   matter of law and have dismissed UCL claims with prejudice where, as here, a
 3   defendant fails to disclose a profit or fee which is included within the purchase price
 4   the plaintiff agreed to pay. See, e.g., Fabozzi v. Stubhub, Inc., 2012 WL 506330, at *6
 5   (N.D. Cal. Feb. 15, 2012) (“Plaintiff agreed to pay the purchase price he actually paid,
 6   so there was no deception in the price he was required to pay.”); Reinault-Thomas
 7   Corp., 2012 WL 1438812, at *10, 12 (no deception “where Plaintiff paid the precise
 8   amount the Defendant’s clerk quoted”).
 9         Third, a reasonable consumer does not “disregard ‘well-known facts of life’ and
10   assume things about the products other than what the statement actually says.” Red v.
11   Kraft Foods, Inc., 2012 WL 5504011, at *3 (C.D. Cal. Oct. 25, 2012) (emphasis in
12   original) (citations omitted); Williamson v. Apple, Inc., 2012 WL 3835104, at *6 (N.D.
13   Cal. Sept. 4, 2012) (UCL claim cannot be predicated on alleged deceptive statements
14   or omissions belied by well-known facts). It is a well-known fact of e-commerce that
15   the opportunity to advertise and market on another’s website costs money. Indeed,
16   affiliate marketing relationships, including advertisements that appear on websites, are
17   routine. A reasonable consumer surely understands that an advertisement for a third-
18   party’s product on a website is paid for by that third-party. When scrolling through a
19   feed or browsing a website, a reasonable consumer does not believe that the advertiser
20   has gained access to another’s website for free. Indeed, a reasonable consumer also
21   understands that travel insurance is only beneficial to those who are traveling which
22   renders advertisements and marketing on travel sites such as alaskaairlines.com the
23   most productive place to advertise—and therefore a valuable commodity that travel
24   insurers such as AGA will pay for. That Alaska did not disclose that it was earning
25   money in these circumstances is not deceptive as a matter of law because no reasonable
26   consumer, much less a “significant portion” of reasonable consumers, would believe
27   otherwise. See McCann v. Lucky Money, Inc., 129 Cal. App. 4th 1382, 1395 (2005)
28   (affirming dismissal of UCL claim with prejudice, because, among other things,
                                                17
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 1   “Defendants are engaged in a business for a profit. Their failure to disclose their own
 2   costs or profit margins is not, on its face, unfair.”); Fabozzi, 2012 WL 506330, at *6
 3   (“That someone would attempt to make a profit . . . is not deceptive; it is standard
 4   business practice.”).
 5          It is implausible that “a significant portion of the general consuming public or of
 6   targeted consumers, acting reasonably in the circumstances,” would believe Alaska
 7   receives no compensation for providing advertising services on its website to a third-
 8   party insurance provider. Thus, regardless of what Plaintiff claims she may or may not
 9   have understood about Alaska’s relationship with AGA, Alaska’s alleged
10   representations and omissions are not fraudulent or deceptive as a matter of law. 9
11                        b.     Plaintiff Fails to Allege an Actionable Omission
12          Plaintiff’s allegations confirm that her UCL claim is based on an omission rather
13   than an affirmative representation. 10 While omissions may “be the basis of claims under
14   [the UCL] . . . ‘to be actionable the omission must be contrary to a representation
15   actually made by the defendant, or an omission of a fact defendant was obligated to
16   disclose.’” Hodson v. Mars, Inc., 891 F.3d 857, 861 (9th Cir. 2018) (emphasis in
17   original; citation omitted). Plaintiff fails to allege either.
18
19   9
        The Complaint cites to Friedman v. AARP, Inc., 855 F.3d 1047, 1056 (9th Cir. 2017)
     in purported support of the naked legal conclusion that “Alaska’s conduct is deceptive
20   within the meaning of the UCL’s fraudulent prong.” Compl. ¶ 75. In Friedman, the
     defendant affirmatively misrepresented the nature of a fee it was charging over and
21   above what plaintiff had agreed to pay as the premium. Id. at 1050. Here, Plaintiff paid
     an agreed-upon price for an agreed-upon insurance policy and got what she paid for.
22   Alaska made no representations whatsoever regarding the travel insurance offer.
     Significantly, the court in Friedman also held that the plaintiff had adequately alleged
23   that the misrepresentations were material precisely because, unlike here, the fee was in
     addition to the premium payment. Id. Conversely, it is “obviously unimportant” (i.e.,
24   not material) to know that an undisclosed fee was charged where, as here, it does not
     change the agreed-upon price.
25   10
        See, e.g., Compl. ¶ 10 (deceptive act was “receipt of undisclosed remuneration); ¶ 25
     (“Alaska’s failure to disclose the remuneration it receives on the sale of travel insurance
26   products purchased by Alaska passengers amounts to a deceptive and unfair trade
     practice”); ¶ 70 (Plaintiff injured as a result of undisclosed remuneration to Alaska); ¶
27   72 (Alaska deceived its passengers by “omitting the [sic] disclose its remuneration from
     AGA”); ¶ 74 (Plaintiff paid more for the insurance “[a]s a consequence of Alaska’s
28   failure to disclose”); ¶ 76 (“[r]eliance on Alaska’s omission . . . is reasonably inferred”).
                                                   18
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 1         First, Plaintiff has not and cannot assert that the alleged omission by Alaska that
 2   it was being compensated in connection with the presentation of a travel insurance offer
 3   on its website was contrary to any representation made by Alaska.
 4         Second, Plaintiff fails to allege any basis upon which to impose a duty of
 5   disclosure on Alaska. Plaintiff attempts to avoid this issue by alleging that Alaska
 6   assumed a fiduciary duty to its customer and therefore had a duty to disclose this
 7   information. Thus, Plaintiff draws the unsupported legal conclusion that:
 8         [i]n voluntarily assuming agency duties owed to passengers limited to
           the context of procuring third party insurance products, Alaska owed a
 9         fiduciary duty to disclose to Alaska passengers, including Plaintiff, any
           arrangement it has with AGA that materially affected the price of the
10         travel insurance product purchased through AGA.
11   Compl. ¶ 20; see also id., ¶¶ 19, 21-22 (similar allegations). However, as demonstrated
12   supra at IV.B, the Complaint fails to allege a fiduciary relationship arose between
13   Plaintiff and Alaska from which any disclosure obligations might stem.
14         Absent a duty to disclose, Plaintiff’s UCL claim premised on Alaska’s purported
15   omissions is foreclosed as a matter of law. See Fabozzi, 2012 WL 506330, at *6
16   (“failure to disclose a fact one has no affirmative duty to disclose is [not] ‘likely to
17   deceive’ anyone with the meaning of the UCL.’”) (citation omitted); Buller v. Sutter
18   Health, 160 Cal. App. 4th 981, 987 (2008) (same).
19                       c.     Plaintiff Fails to Allege Any “Unfair” Business Practices
20         Plaintiff’s attempt to allege a violation of the unfair prong of the UCL, see Compl.
21   ¶¶ 77-80, fails for an additional reason. In Allen v. Hyland’s Inc., 2019 WL 2142843
22   (9th Cir. 2019), the Ninth Circuit stated that:
23         The UCL’s unfair prong can apply to business practices that are against
           public policy, that are “immoral, unethical, oppressive, unscrupulous or
24         substantially injurious,” or that cause unforeseeable injuries to consumers
           that are not outweighed by countervailing benefits.
25
26   Id. at *3. See also Elias, 903 F. Supp. 2d at 858 (“‘A business practice is unfair within
27   the meaning of the UCL if it violates established public policy or if it is immoral,
28   unethical, oppressive or unscrupulous and causes injury to consumers which outweighs
                                                 19
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 1   its benefits.’”) (citation omitted).
 2          Here, Plaintiff simply parrots these requirements without supplying any
 3   necessary factual support. Instead, Plaintiff makes the conclusory assertion that
 4   Alaska’s acts were unfair under the UCL because “the utility of Alaska’s conduct (zero)
 5   is outweighed by the gravity of harm to Plaintiff,” Alaska’s conduct “offended an
 6   established public policy,” and “Alaska engaged in immoral, unethical, oppressive, and
 7   unscrupulous activities.” Compl. ¶ 79.
 8          Nowhere, however, does the Complaint allege how consumers derive “zero”
 9   benefit from being able to purchase travel insurance through Alaska’s website.
10   Specifically, Plaintiff never alleges that: (1) the travel insurance did not provide the
11   services advertised; (2) she suffered any “substantially injurious” effects or any “grave
12   harm” from purchasing travel insurance; or (3) she was unable to use the travel
13   insurance policy she purchased. Alaska simply provides customers with an opportunity
14   to purchase travel insurance at their option from a third-party insurer at a price that they
15   are free to accept or reject and shop for comparable coverage elsewhere. Nor, as
16   explained above, does Plaintiff allege actual harm to herself, much less harm that is
17   outweighed by the countervailing benefit of the valid and enforceable insurance policy
18   she received. Plaintiff’s allegations are insufficient as a matter of law to establish an
19   “unfair” practice by Alaska. See Elias, 903 F. Supp. 2d at 858 (UCL claim dismissed
20   where complaint “does not allege any basis for concluding that [Plaintiff’s] injury
21   outweighs the reasons, justifications and motives of Defendants.”). Moreover, a “failure to
22   disclose information [defendant] had no duty to disclose in the first place is not
23   substantially injurious, immoral or unethical.” Hodson, 891 F.3d at 867.
24          Nor does the Complaint adequately allege conduct that is “against public policy;11
25
     11
        In Cel-Tech Commc'ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163 (1999),
26   the California Supreme Court explained unfairness under the UCL “must be tethered to
     some legislatively declared policy….” Id. at 185. “To determine whether something is
27   sufficiently ‘tethered’ to a legislative policy for the purposes of the unfair prong,
     California courts require a close nexus between the challenged act and the legislative
28   policy.” Hodson, 891 F.3d at 866.
                                                  20
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 1   it fails to identify any “actual policy based on a legal provision that the defendant
 2   violated.” Hodges v. Apple Inc., 2013 WL 4393545, at *6 (N.D. Cal. Aug. 12, 2013);
 3   Elias, 903 F. Supp. 2d at 858 (“[a]lthough [plaintiff] makes conclusory statements that
 4   HP’s alleged conduct is unfair, he does not reference any established public policy that
 5   HP’s actions have violated . . .”); Buller, 160 Cal. App. 4th at 991 (unfair prong not
 6   established where “[plaintiff] makes no argument [] that his allegations are directly
 7   connected to any legislatively declared policy . . .”). 12
 8                      d.     Plaintiff Has No Standing to Seek Injunctive Relief13
 9         To have standing to seek “injunctive relief, which is a prospective remedy, the

10   threat of injury ‘must be actual and imminent, not conjectural or hypothetical.’ In other

11   words, the ‘threatened injury must be certainly impending to constitute injury in fact’

12   and “allegations of possible future injury are not sufficient.’” Davidson v. Kimberly-

13   Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018) (emphasis in original) (citations

14   omitted). In Davidson, the court rejected the notion that “‘injunctive relief is never

15   available for a consumer who learns after purchasing a product that the label is false,’”

16   id. at 971, and suggested that “[i]n some cases, the threat of future harm may be the

17   consumer’s plausible allegations that she will be unable to rely on the product’s

18   advertising or labelling in the future, and so will not purchase the product although she

19   would like to.” Id. at 969-70 (emphasis in original; citation omitted). The Complaint

20   borrows this concept from Davidson in a futile effort to establish that Plaintiff has

21   standing to seek injunctive relief. See Compl. ¶ 72.

22         Plaintiff’s reliance on Davidson is misplaced. Even assuming case law regarding

23   product labels is apt, here, unlike Davidson where there was only one source for the

24
     12
        In addition, as here, where the facts underlying the UCL “unfair” prong entirely
25   overlap with the “fraudulent” prong, the unfair claim fails if the fraudulent claim fails.
     See  Hadley v. Kellogg Sales Co., 243 F. Supp. 3d 1074, 1104–05 (N.D. Cal. 2017).
26   13
        Because a UCL claim is “equitable in nature” (Korea Supply Co. v. Lockheed Martin
     Corp., 29 Cal. 4th 1134, 1144 (2003)), its only remedies are restitution and injunctive
27   relief. Id. Thus, if Plaintiff has an adequate remedy at law, she cannot seek relief under
     the UCL. See, e.g., McAdam v. State Nat’l Ins. Co., Inc., 2012 WL 4364655, at *2, 3
28   (S.D. Cal. Sep. 24, 2012).
                                                 21
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 1   product at issue and no way to determine the veracity of the label, Plaintiff can purchase
 2   the same travel insurance directly from AGA or another travel insurer. And, she has the
 3   ability to determine whether the price being charged for a policy purchased through the
 4   Alaska website is indeed inflated (which it is not). In these circumstances, there is no
 5   “threat of future harm” necessary to establish standing to seek injunctive relief. See,
 6   e.g., Fernandez v. Atkins Nutritionals, Inc., 2018 WL 280028, at *15 (S.D. Cal. Jan. 3,
 7   2018) (no future injury where plaintiff “has knowledge that enables her to make an
 8   appropriate choice”); Rahman v. Mott’s LLP, 2018 WL 4585024, at *3 (N.D. Cal. Sep.
 9   25, 2018) (distinguishing Davidson and holding that plaintiff lacked standing to seek
10   injunctive relief where there was “no future risk that plaintiff will be misled”);
11   Hangarter v. Provident Life and Accident Ins. Co., 373 F.3d 998, 1021-22 (9th Cir.
12   2004) (plaintiff who no longer had insurance policy with defendants “and therefore is
13   not personally threatened by their conduct” did not have standing to seek injunctive
14   relief under the UCL).
15                      e.     The Complaint Does Not Allege Fraud with the
                               Particularity Required by Fed. R. Civ. P. 9(b)
16         The particularity requirement of Rule 9(b) applies to both the fraudulent and
17   unfair prongs of Plaintiff’s UCL claim because both are premised on Alaska’s alleged
18   fraudulent or deceptive conduct. See Kearns v. Ford Motor Co., 567 F.3d 1120, 1125,
19   1127-28 (9th Cir. 2009). Rule 9(b) requires the plaintiff to allege “the who, what, when,
20   where, and how” of the alleged fraudulent conduct, Vess v. Ciba-Geigy Corp. USA, 317
21   F.3d at 1106, and “set forth an explanation as to why [a] statement or omission
22   complained of was false and misleading.” In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
23   1548 (9th Cir. 1994) (en banc) (superseded by statute on other grounds). The Complaint
24   fails to meet the heightened pleading standard of Rule 9(b) because, among other things,
25   it does not set forth the time period during which the alleged misrepresentations and
26   omissions were made and fails to state which specific statements Plaintiff personally
27   saw. See, e.g., Letizia, 267 F. Supp. 3d at 1243-45 (failure to allege sufficient facts to
28
                                                 22
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 1   demonstrate that Plaintiff saw alleged misrepresentations at issue “dooms [her] UCL
 2   claim under Rule 9(b)’s heightened pleading requirements” and further explaining that
 3   Rule 9(b) requires plaintiff to allege “the time period in which the [alleged
 4   misrepresentations] appeared”). The claim also fails to explain with sufficient
 5   particularity (and cannot explain) why the alleged statements on Alaska’s website were
 6   false. For all of these reasons, Plaintiff’s UCL claim should be dismissed with prejudice.
 7         D.     The Nationwide Class Allegations Should Be Dismissed
 8                1.   Material Variations in State Laws Make Nationwide Class
                       Treatment Unmanageable
 9         Plaintiff purports to represent a nationwide class for her breach of fiduciary duty
10   claim. Compl. ¶ 40. However, numerous courts have held at the pleadings stage that a
11   nationwide class is inappropriate for state law claims, saving both the parties and the
12   courts time and expense in litigating class issues that were doomed to fail from the
13   beginning. See, e.g., Cover v. Windsor Surry Co., 2016 WL 520991, at *5 (N.D. Cal.
14   Feb. 10, 2016) (collecting cases); Banks v. Nissan N. Am., Inc., 2012 WL 8969415, at
15   *1 (N.D. Cal. Mar. 20, 2012).
16         A class cannot be certified where material variations in state laws make
17   nationwide class treatment unmanageable. Mazza v. Am. Honda Motor Co., Inc., 666
18   F.3d 581, 589-94 (9th Cir. 2012) (material variations among the consumer protection
19   laws of the states undermined predominance and precluded application of California
20   law to a nationwide class). Here, fiduciary duty claims vary by state regarding what
21   constitutes a fiduciary relationship and there is no single standard governing liability.
22   See Doll v. Chicago Title Ins. Co., 246 F.R.D. 683, 690-91 (D. Kan. 2007) (discussing
23   variations in state law). The statutes of limitations also vary widely which “pose[s] a
24   significant obstacle to class certification.” Marshall v. H & R Block Tax Servs. Inc., 270
25   F.R.D. 400, 408 (S.D. Ill. 2010). Because of the material differences between states’
26   laws, Plaintiff’s claim for breach of fiduciary duty fails as a nationwide class. 14
27
     14
        Individual states’ interests in applying their own law precludes uniform application
28   of California law to the breach of fiduciary duty claim. California law may only be
                                                  23
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 1         Where, as here, it is clear from the pleadings that choice-of-law issues preclude
 2   certifying a nationwide class, the Court should dismiss those allegations. Davison v. Kia
 3   Motors Am., Inc., 2015 WL 3970502, at *2-3 (C.D. Cal. June 29, 2015) (dismissing
 4   nationwide state law class claims with prejudice at motion to dismiss stage and holding
 5   that “each putative class member’s claims here must be governed by and decided under
 6   the law of the state where the injury took place”); see also Frenzel v. AliphCom, 76 F.
 7   Supp. 3d 999, 1009 (N.D. Cal. 2014) (dismissing nationwide state law class claims on
 8   motion to dismiss because each putative class member’s claim should be governed by
 9   laws of “jurisdiction in which transaction took place.”). Accordingly, Plaintiff’s
10   nationwide class allegations should be dismissed.
11                2.     Non-Resident Absentee Class Members’ Claims Should Be
                         Dismissed for Lack of Standing and Personal Jurisdiction
12
           A court “must be sure of its own jurisdiction before getting to the merits.” Easter
13
     v. Am. W. Fin., 381 F.3d 948, 962 (9th Cir. 2004) (citation omitted). This Court lacks
14
     jurisdiction over the claims of the non-California plaintiffs, which fail for lack of
15
     standing and personal jurisdiction over Alaska.
16
           The Complaint necessarily invokes the breach of fiduciary duty laws of every
17
     state in which the putative class members reside or completed their insurance
18
     transactions, yet it includes no named plaintiffs from outside California. See Compl. ¶¶
19
     58-63. This creates a threshold jurisdictional issue because a named plaintiff lacks
20
     Article III standing to assert claims under the laws of the states in which she does not
21
     reside. See In re Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1075 (N.D. Cal. 2015) (finding
22
     that “named Plaintiffs do not have standing to assert claims from states in which they
23
     do not reside or did not purchase their mobile device,” and granting motion to dismiss
24
25   applied on a classwide basis if the interests of other states do not outweigh California’s
     interest in having its law applied. Mazza, 666 F.3d at 590. Here, each state where a
26   consumer purchased travel insurance “has an interest in having its law applied to its
     resident claimants.” Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1187 (9th
27   Cir. 2001); Spence v. Glock, Ges.m.b.H., 227 F.3d 308, 314 (5th Cir. 2000) (all “51
     relevant jurisdictions are likely to be interested in ensuring that their consumers are
28   adequately compensated in cases of economic loss”).
                                                 24
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 1   those claims); In re Flash Memory Antitrust Litig., 643 F. Supp. 2d 1133, 1164 (N.D.
 2   Cal. 2009). Indeed, the failure to specify which state(s)’ breach of fiduciary duty laws
 3   governs by itself mandates dismissal. See In re Samsung Galaxy Smartphone Mktg. &
 4   Sales Practices Litig., 2018 WL 1576457, at *4 (N.D. Cal. Mar. 30, 2018) (“due to
 5   variances among state laws, failure to allege which state law governs a common law
 6   claim is grounds for dismissal [of nationwide class claims].”) This Court should
 7   therefore dismiss the fiduciary duty claims of non-resident absentee class members.
 8         In addition, under Bristol-Myers Squibb v. Super. Ct. of Cal., 137 S. Ct. 1773,
 9   1779-80 (2017) this Court should not exercise specific personal jurisdiction over
10   nonresident Alaska, see Compl. ¶ 13, where the proposed nationwide class members’
11   claims bear no connection to California. 15
12   V.    CONCLUSION
13         For the foregoing reasons, Defendant respectfully requests that the Court dismiss
14   the Complaint in its entirety with prejudice.
15   Dated: August 9, 2019                  WINSTON & STRAWN LLP
16
                                            By:         s/ Gayle I. Jenkins
17                                                      Gayle I. Jenkins
                                                        Attorneys for Defendant
18                                                      ALASKA AIRLINES, INC.
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     15
        As the Supreme Court has warned, courts inquiring into personal jurisdiction must
23   not run afoul of the Rules Enabling Act, which provides that procedural rules “shall not
     abridge, enlarge[,] or modify any substantive right.” Amchem Prods., Inc. v. Windsor,
24   521 U.S. 591, 613 (1997) (quoting 28 U.S.C. § 2072(b)). A plaintiff cannot deprive a
     defendant of due-process protections recognized in Bristol-Myers by styling a case as a
25   class action under Rule 23. See also Mussat v. IQVIA Inc., 2018 WL 5311903, at *6
     (N.D. Ill. Oct. 26, 2018) (“the Rules Enabling Act requires “consistent and uniform
26   application of defendants’ due process rights” between “class actions under Rule 23”
     and “individual or mass actions.”); Wenokur v. AXA Equitable Life Ins. Co., 2017 WL
27   4357916 at *4 n.4 (D. Ariz. Oct. 2, 2017) (“The Court also notes that it lacks personal
     jurisdiction over the claims of putative class members with no connection to Arizona
28   and therefore would not be able to certify a nationwide class.”).
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                                                          NOTICE OF MOTION AND MOTION TO DISMISS
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